Case 1:20-cv-00997-DDD-JPM Document 7 Filed 11/09/20 Page 1 of1PagelD#: 103

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
LEON D. FUSSELL, CIVIL ACTION NO. 1:20-CV-0997-P
Petitioner
VERSUS . JUDGE DRELL
DARREL VANNOY, MAGISTRATE JUDGE PEREZ-MONTES
Respondent
JUDGMENT

For the reasons stated in the Report and Recommendation of the Magistrate
Judge previously filed herein (ECF No. 5), and after a de novo review of the record
including the Objection filed by Petitioner (ECF No. 6), and having determined that
the findings and recommendation are correct under the applicable law;

IT IS ORDERED that the Petition for Writ of Habeas Corpus under 28 U.S.C.
§ 2254 (ECF No. 1) is hereby DENIED and DISMISSED WITH PREJUDICE.

THUS DONE AND SIGNED at Alexandria, Louisiana, this —day of

November, 2020.

SS

DEE D. DRELL
UNITED STATES DISTRICT JUDGE

 
